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                      IN THE UNITED STATES DISTRICT COURT
                          DISTRICT OF SOUTH CAROLINA
                              CHARLESTON DIVISION

Lee Michael Singletary and          )                  Civil Action No. 2:20-cv-3923-RMG
Clarice Singletary,                 )
                                    )
               Plaintiffs,          )                                 ORDER
                                    )
      v.                            )
                                    )
Town of Moncks Corner and Officer   )
Sean Barber, individually,          )
                                    )
               Defendants.          )
____________________________________)

       Before the Court is the Report and Recommendation of the Magistrate Judge

recommending that Plaintiffs’ motion to remand be granted and Defendants’ pending motion to

dismiss be denied without prejudice as moot. (Dkt. No. 12). Plaintiffs move to remand, (Dkt.

No. 8), in light of their amended complaint which no longer contains any federal causes of

action, (Dkt. No. 7). Defendants agree this case must be remanded as subject matter jurisdiction

is lacking. (Dkt. No. 11). Thus, as subject matter is lacking, the Court ADOPTS the R&R as the

Order of the Court, GRANTS Plaintiffs’ motion to remand (Dkt. No. 8), remands this action to

the Berkeley County Court of Common Pleas, and DENIES WITHOUT PREJUDICE as moot

Defendants’ motion to dismiss (Dkt. No. 6).

       AND IT IS SO ORDERED.

                                                    s/ Richard Mark Gergel
                                                    United States District Court Judge

January 12, 2021
Charleston, South Carolina




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